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1    James C. Pistorino (SBN 226496)
       james@dparrishlaw.com
2    Parrish Law Offices
     224 Lexington Dr.
3    Menlo Park, CA 94025
     Telephone: (650) 400-0043
4
     Attorneys for Plaintiff
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6                                  UNITED STATES DISTRICT COURT
7                                NORTHERN DISTRICT OF CALIFORNIA
8    DORIS A. KAELIN, as trustee for the estate       )   Case Number: 4:18-cv-01044-HSG-JCS
     of TECHSHOP, INC.,                               )
9
                                                      )   TECHSHOP’S OBJECTIONS TO
10                  Plaintiff,                        )   DEFENDANTS’ BILL OF COSTS
                                                      )
11          vs.                                       )   Judge: Hon. Haywood S. Gilliam, Jr.
                                                      )
12
     DAN RASURE, et al.                               )
13                                                    )
                    Defendants.                       )
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15
            Plaintiff Doris A. Kalein, as trustee for the estate of TechShop, Inc. (hereinafter,
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     “TechShop”), pursuant to files these objections to Defendants’ Bill of Costs.
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18          All of Defendants’ bill of costs should be denied.

19          First, Defendants were not the “prevailing party” under FED.R.CIV.P. 54(d)(1). Under the

20   Rule, there is only one “prevailing party.” FED.R.CIV.P. 54(d)(1) (“… costs should be allowed

21   to the prevailing party.”). Defendants were found to have willfully infringed the two trademarks

22   at issue, lost on all of their affirmative defenses, and further lost on their claim of fraud. Because

23   Defendants were not the “prevailing party”, no costs are available to them under the Rule.
24   TechShop is the “prevailing party.”
25          Second, many of the costs claimed are barred as a matter of law.
26          Defendants seek $4,795.70 under Rule 54-3(b)(1) for a copy of the trial transcript for
27   appeal. In this case, there has been no appeal for which costs were “necessarily” obtained.
28

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1    Under the Rule, costs of such transcripts are recoverable only if the judge makes an oral ruling
2    that is supposed to be reduced to a formal order by counsel. Defendants make no such claim.
3    Under Rule 54-3(b)(3), the costs of other transcripts may not be recovered unless, before the cost
4    is incurred, it is approved by the judge or stipulated. No such prior approval or stipulation is
5    alleged. Accordingly, these costs are not allowable. See, e.g., Hesterberg v. U.S., 75 F.Supp.3d
6    1220, 1224-25 (N.D. Cal. 2014) (Corley, J.) (trial transcript not allowable cost).
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               Defendants claim $233.00 under 54-3(a)(2) for service of a subpoena by someone other
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     than the marshal. Under the Rule, only costs associated with service of a summons or by the
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     marshal may be claimed. The cost of service of subpoenas is not allowable.
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               Defendants claim $652.00 under Rule 54-3(b)(2) for copies of transcripts of hearings.
11
     Under the Rule, costs of such transcripts are recoverable only if the judge makes an oral ruling
12
     that is supposed to be reduced to a formal order by counsel. Defendants make no such claim.
13
     Under Rule 54-3(b)(3), the costs of other transcripts may not be recovered unless, before the cost
14
     is incurred, it is approved by the judge or stipulated. No such prior approval or stipulation is
15
     alleged. Accordingly, these costs are not allowable.
16
               Defendants claim $72,083.17 under Rule 54-3(d)(2) for disclosure/formal discovery
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     documents. The alleged support for these charges is contained in the Draper’ declaration and
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19   Exhibits F, G, H, and I attached thereto. As described there, the charges relate to both discovery

20   and an “extensive redaction” project. Draper Decl. at ¶ 12. It is well settled that fees for

21   “reproduction and exemplification” are “permitted only for the physical preparation and

22   duplication of documents, not the intellectual effort involved in their production.” See, e.g., Zuill

23   v. Shanahan, 80 F.3d 1366, 1371 (9th Cir. 1996). As a starting point, as revealed in the Draper

24   declaration, Defendants voluntarily chose to engage in a “redaction” project.1 Defendants’
25   “extensive redaction” project had nothing to do with physical preparation and duplication.
26   Instead, it was “intellectual effort” barred by the Rules. As described by Defendants, the charges
27
28   1
         Indeed, Plaintiff contends that this was done in violation of Defendants’ discovery obligations.

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1    associated with this task are $20,034.50. In addition, Exhibits G, H, and I include $14,311.17 for
2    a “document coding project.” Again, this is not allowable under the Rules and is not related to
3    the “physical preparation and duplication” of the documents. Finally, Exhibit F is a charge for
4    $37,440.00 for a multitude of tasks, including phone calls/emails with counsel, “organizing”,
5    “processing”, etc. Again, these are barred under the Rule. Because of the nature of the entries
6    themselves, TechShop cannot disambiguate which costs may be allowable. Accordingly, none
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     of the costs should be allowed. See, e.g., Hesterberg, 75 F.Supp.3d at 1224 (“… the burden is on
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     the party seeking costs … to establish the amount of compensable costs and expenses to which it
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     is entitled.”).
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             Defendants seek $5,509.81 under Rule 54-3(d)(4) for trial exhibits. As disclosed in the
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     Roberts’ declaration, $2,355.92 of this amount was for the preparation of “binders” for use with
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     witnesses. See Roberts’ Decl. at ¶ 7. The “binders” themselves were not “trial exhibits” nor
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     were any of the materials therein. The “trial exhibits” were the materials described in Para. 6 of
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     the Roberts’ declaration. Likewise, the $73.92, $36.29, and $33.39 charges mentioned in ¶ 7 of
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     the Roberts’ declaration were not for “trial exhibits.” The $5,509.81 is also supported by
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     Exhibits J, K, and L of the Draper declaration. Again, those materials do not indicate that the
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     costs were actually for “trial exhibits” as opposed to binders, etc. Further, simply adding up all
18
19   the claimed costs only comes out to $4,928.86 not $5,509.81. Because Defendants have not

20   carried their burden to establish the compensable costs to which they are entitled, these costs

21   should not be allowed. See, e.g., Hesterberg, 75 F.Supp.3d at 1224 (“… the burden is on the

22   party seeking costs … to establish the amount of compensable costs and expenses to which it is

23   entitled.”).

24           Pursuant to Civil Local Rule 54-2(b), the parties met and conferred on July 19, 2019 and
25   agreement was not reached.
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1    Respectfully submitted,
                                         ___/s/ James Pistorino
2                                        James C. Pistorino (SBN 226496)
                                           james@dparrishlaw.com
3                                        Parrish Law Offices
                                         224 Lexington Dr.
4                                        Menlo Park, CA 94025
                                         Telephone: (650) 400-0043
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                                         Attorneys for Plaintiff
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